       Case 3:12-cr-00005-LC     Document 90       Filed 02/28/12   Page 1 of 1

                                                                              Page 1 of 1


            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                        PENSACOLA DIVISION


UNITED STATES OF AMERICA

vs.                                                         3:12cr5/LAC

CARTER HASSMAN,
NIKKI KIGHT and
MICHAEL ELTON BLAIR,
           Defendants.
_________________________________________________________________

                      ACCEPTANCE OF PLEA OF GUILTY

      Pursuant to the Report and Recommendation of the United States Magistrate
Judge, to which there has been no timely objections, and subject to this Court’s
consideration of the plea agreements pursuant to Fed.R.Crim.P. 11(e)(2), the plea of
guilty of the defendants, CARTER HASSMAN, NIKKI KIGHT and MICHAEL
ELTON BLAIR, to the one count indictment against them is hereby ACCEPTED.
All parties shall appear before this Court for sentencing as directed.


      DONE AND ORDERED this 28th day of February, 2012.


                                 s /L.A. Collier
                                 LACEY A. COLLIER
                                 SENIOR UNITED STATES DISTRICT JUDGE
